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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8   UNITED STATES OF AMERICA,                            NO. CR12-237-JCC
 9                                                            MJ12-643
                                   Plaintiff,
10
            v.
11                                                        ORDER REVOKING BOND AND
     RAHMAN JOHNSON,                                      DETENTION ORDER
12

13                                 Defendant.

14

15   Offenses charged:

16          CR12-237-JCC           Bond Violation
17          MJ12-643               Felon in Possession of a Firearm, in violation of 18 U.S.C. §
18                                 922(a)(1)
     Bond Revocation: December 5, 2012
19
            On September 5, 2012, defendant appeared for a detention hearing before the
20
     undersigned Magistrate Judge after which defendant was released on an appearance bond that
21
     included restrictions that he not commit any violations of law.
22
            On December 4, 2012, Pretrial Services filed a Petition for Warrant for Defendant
23
     Under Pretrial Services Supervision, alleging that the defendant had violated the terms and
24
     conditions of his bond as follows:
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     ORDER REVOKING BOND AND
     DETENTION ORDER
     18 U.S.C. § 3142(i)
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 1          1.      Mr. Johnson has violated the bond condition that he not commit a federal, state,
 2                  or local crime during the period of release by incurring a new criminal offense
 3                  of Felon in Possession of a Firearm on or about November 28, 2012, in Auburn,
 4                  Washington.
 5   This is the subject of the complaint in MJ12-643.
 6          On December 4, 2012, the defendant made his initial appearance at a bond revocation
 7   hearing before U.S. Magistrate Judge Karen L. Strombom. He was advised of his rights in
 8   connection with the Petition for Warrant for Defendant Under Pretrial Services Supervision.
 9   He was advised of the bond violation allegation. He denied alleged violation 1.
10          On December 5, 2012, defendant appeared for an evidentiary hearing on alleged
11   violation 1. On the basis of the probable cause showing in the complaint in MJ12-643,
12   Defendant was found to have violated the terms and conditions of his supervised release.
13          Pursuant to CrR 32.1, CrR46(c) and 18 U.S.C. § 3142(f), and based upon the factual
14   findings and statement of reasons for detention hereafter set forth, finds:
15          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
16          (1)     On September 5, 2012, defendant was released on bond with pretrial
17   supervision and special conditions.
18          (2)     The defendant has failed to abide by the terms of his bond, as set forth in the
19   bond violation allegations above.
20          (3)     There appear to be no conditions or combination of conditions other than
21   detention that will reasonably assure the defendant’s appearance at future Court hearings as
22   required, and that will address the risk of the defendant’s danger to the community.
23          IT IS THEREFORE ORDERED:
24          (1)     Defendant’s bond is hereby revoked;
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 1          (2)     Defendant shall be detained pending trial and committed to the custody of the
 2   Attorney General for confinement in a correction facility separate, to the extent practicable,
 3   from persons awaiting or serving sentences or being held in custody pending appeal;
 4          (3)     Defendant shall be afforded reasonable opportunity for private consultation with
 5   counsel;
 6          (4)     On order of a court of the United States or on request of an attorney for the
 7   government, the person in charge of the corrections facility in which defendant is confined
 8   shall deliver the defendant to a United States Marshal for the purpose of an appearance in
 9   connection with a court proceeding; and
10          (5)     The Clerk shall direct copies of this Order to counsel for the United States, to
11   counsel for the defendant, to the United States Marshal, and to the United States Pretrial
12   Services Officer.
13          DATED this 5th day of December, 2012.
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15
                                                   A
                                                   JAMES P. DONOHUE
16                                                 United States Magistrate Judge

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     ORDER REVOKING BOND AND
     DETENTION ORDER
     18 U.S.C. § 3142(i)
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